
In re Combustion Engineering Inc.; Co-masec Inc.; — Defendants; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. F, No. 91-18397; to the Court of Appeal, Fourth Circuit, Nos. 2000-C-0495, 2000-C-0541, 2000-C-0685, 2000-C-0779.
Denied as to all non-bankrupt defendants. As to all defendants presently in bankruptcy, any action on the writ application is deferred. In the event the automatic stay is lifted as to these defendants, they may file a request asking this Court to take action on the merits of their application.
CALOGERO, C.J., and LEMMON, J., would grant the writ.
